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EXHIBIT 5
wedge 4C ASE 2:10-cv-12094-LPZ-MKM ECF No. 21-6, PagelD.197 Filed 03/02/11 Page 20f3

ACADEMY OF ART. |
oo ART Museum
ANSTITUTE-OF SCIENCE. [>

“Doug Ebert, Atlyee § Seibert, dim n Picket, Scott Looney, Chast Shaw, and To om Mm,
- DeCraene_ . : ed.
CONFIDENTIAL
Mai Kazakos-Resh, Chris Hopp, Cranbrook Information Technology.
and. Kirk Brain ee te
he oO : Gubject : age OE . SOE oh Bs sh
25 5 May 2004 oe investigation.re: Michael‘DuPree and...

Based on the request for IT to investigate the network and “H” drive activities of two (2) students,
special —" Michael DuPree, the IT team discovered the following in information:

> “Evidence of the creation ofa “decoy” for Websense and Novell account logins. These.
decoys mimicked the actual logins allowing |D and password information to be captured .
. ‘and sent directly to. s Cranbrook email account and later an off-site email. account,
specifi ically. “googly 12 photmail. com. All decoys were located ir in both —_= and

: > At least 167 faculty and classmen ne. Q. freshmen, sophomores, etc) i IDs and passwords: &
-* are documented in an Excel spreadsheet, found j ina crectory # titled: "Randy" located it ine
Michael DuPree' s network storage. . .

> Based. on ‘information received from Schools’ faculty, and fi les ¢ on 1 the students’ “Wy drives,
IT was able to determine and identify specific machines used for testing-& deployment of
the decoy login process. After thorough investigation of the contents.of these machines, a
- discovery of various links to items 5 Such as 2003-2004 f fi nal ¢ exams, pointers | to faculty-"
‘owned directories. were found. . .

- > At some point i in time, a subdirectory named “Spicer” € existed i in, and has s since been
- deleted, on Michael's “H”. drive. |

> Evidence of online gambling activity was also found in Michaels account, such as s login
information, passwords, and account totals. . oe

At this time, our investigation has not:been able to determine the exact amount of total machines
or user accounts that may | have been impacted.and / or compromised.

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op. gp Case 2:10-cv-12094-LPZ-MKM -ECF No. 21-6, PagelD.198 Filed 03/02/14 -
= "We also have no data to report on the googly 12345@hotmal com account @ which Sdtivity was -
_logged from the Cranbrook network. There is evidence of file transfer occurring from the |
= Cranbrook network to the “cheezy.com” network, which is owned and operated by Michael".
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